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                 Exhibit B
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 IN RE PHARMACEUTICAL INDUSTRY                       MDL No. 1456
 AVERAGE WHOLESALE PRICE
 LITIGATION                                          CIVIL ACTION: 01-CV-12257-PBS
 ---------------------------------------------
 THIS DOCUMENT RELATES TO:                           DECLARATION OF
 BMS CLASS ACTIONS                                   KATHERINE KINSELLA



I, Katherine Kinsella, being duly sworn, hereby declare as follows:

1.     I am President of Kinsella Media, LLC (“KM”), an advertising and legal notification firm

       in Washington, D.C. that specializes in the design and implementation of class action and

       bankruptcy notification programs to reach unidentified putative class members primarily

       in consumer and mass tort litigation. My business address is 2120 L Street, NW, Suite

       860, Washington, D.C. 20037. My telephone number is (202) 686-4111.

2.     I submit this declaration in connection with the class action Notice Program in In Re

       Pharmaceutical Industry Average Wholesale Price Litigation, BMS Settlement,

       pending in the United States District Court for the District of Massachusetts.        I

       previously submitted a Notice Program, Exhibit G to the Settlement Agreement, to the

       Court on August 4, 2009, outlining my firm’s credentials and describing the Notice

       Program designed by KM. The Court subsequently approved the Notice Program on

       July 29, 2010. This declaration outlines the implementation of said Notice Program and

       the measures taken to provide the best notice of the Proposed Settlement that was

       practicable under the circumstances.

3.     KM was retained to help design and implement the notice program for the proposed

       settlement of the above-captioned action.

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4.   This declaration is based upon my personal knowledge and upon information provided

     by Class Counsel and my staff. The information is of a type reasonably relied upon in

     the fields of advertising, media and communications.

                                          Notices

5.   This program utilized two publication notices to reach Third-Party Payor (“TPP”) and

     Consumer Class Members, the TPP Publication Notice and the Consumer Publication

     Notice.   The plain language publication notices were designed as black and white

     advertisements to capture and hold the attention of the reader. A bold headline allowed

     Class Members to quickly determine if the Proposed Settlement might affect them. The

     text provided important information regarding the subject of the Proposed Settlement, the

     Class definition and the legal rights available to Class Members.

6.   The TPP Publication Notice and the Consumer Publication Notice prominently featured

     the toll-free telephone number, the informational website address, and a mailing address

     for Class Members to request or access the TPP Notice of Proposed Class Action

     Settlement or Consumer Notice of Proposed Class Action Settlement. True and correct

     copies of the TPP Publication Notice and the Consumer Publication Notice are attached

     hereto as Exhibit 1.

                                        Paid Media

7.   Paid media was used to supplement the Direct Notice program implemented by Rust

     Consulting, Inc., the Claims Administrator, in this case. Specific information regarding

     the direct mail portion of the Notice Program is provided in the declaration of Eric Miller.




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8.    The Consumer Publication Notice appeared in the following national consumer

      magazines:

         a) A one-third-page ad (2.2” x 10”) appeared on page 51 in the August 23 – August

             30, 2010 edition of Newsweek, which went on sale on August 16 2010, with an

             estimated circulation of 1,500,000.

         b) A one-third-page ad (2.215” x 10”) appeared on page 112 in the August 30, 2010

             edition of People, which went on sale on August 20, 2010, with an estimated

             circulation of 3,450,000.

         c) A one-third-page ad (2.215” x 10”) appeared on page 19 in the August 16 –

             August 23, 2010 edition of TV Guide, which went on sale on August 12, 2010,

             with an estimated circulation of 2,000,000.

9.    The TPP Publication Notice appeared in the following national trade magazines:

         a) A full-page ad (7” x 10”) appeared on page 118 in the September 2010 edition of

             HR Magazine, which went on sale on September 9, 2010, with an estimated

             circulation of 238,219.

         b) A full-page ad (2.2” x 10”) appeared on page 33 in the August 23, 2010 edition of

             National Underwriter: Life & Health, which went on sale on August 23 2010,

             with an estimated circulation of 1,500,000.

10.   A press release was included to augment the published notice. The press release

      contained a message that highlighted the benefits of the Proposed Settlement and

      explained the claims filing process as well as the toll-free telephone number, and the

      website address that Class Members could visit for complete information.




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                       EXHIBIT 1
                                         Legal Notice
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    Third-Party Payors Who Made Reimbursements
           for Certain Chemotherapy Drugs
                   (From January 1, 1991 to December 31, 2004)

            May Be Able To Receive Substantial Payments From a
                    Proposed Class Action Settlement.

                                                  There is a proposed class action Settlement with
                                                  Bristol-Myers Squibb (“BMS”) concerning drugs
                                                  used in the treatment of cancers and other medical
    The Bristol-Myers Squibb drugs are:           conditions. They are most often, but not always,
                                                  injected in a doctor’s office or clinic.
                            Blenoxane®
                                                  What is the Lawsuit About?
                               Cytoxan  ®         The lawsuit claims that Third-Party Payors (“TPPs”)
                                                  who reimbursed any portion of their insureds’
                            Etopophos®            Medicare Part B co-payment or who reimbursed for
                                                  these drugs outside of Medicare Part B based on the
                             Paraplatin®          “average wholesale price” (“AWP”) paid more than
                                                  they should have for these drugs. The lawsuit claims
                                                  the AWP reported by BMS for these drugs was false
                                 Rubex®           and inflated. BMS contends that it reported true
                                                  and accurate list prices; it denies any wrongdoing
                                   Taxol®         and is settling to avoid the burden and expense of
                                                  continued litigation.
                               Vepesid®
                                                  Who are Class Members?
                                                  Generally speaking, you may be a member of one of
                                                  the Settlement Classes if:
                                                  • You reimbursed any portion of an insured’s Medicare
                                                    Part B co-payment for any of these drugs from
                                                    January 1, 1991 through December 31, 2004; or
For Detailed Information and a Claim Form:        • You made reimbursements outside of Medicare
                                                    Part B for any of these drugs from January 1, 1991
                                    Visit:          through December 31, 2004.
      www.BMSAWPSettlement.com                    What are My Legal Rights?
                                                  Get complete information below to understand your
                                     Call:        legal rights to:
          Toll-Free: 1-877-690-7097               • Remain in the Class and File a valid claim
                                                    postmarked by November 19, 2010,
                                                  • Remain in the Class and Object to or comment
                                Or Write:           on the Settlement in writing postmarked by
  BMS AWP TPP Settlement Administrator              October 29, 2010, or
                       P.O. Box 24648             • Exclude yourself and keep your right to sue the
           West Palm Beach, FL 33416                Defendants on your own. Written exclusion
                                                    requests must be postmarked by October 29, 2010.
                                                  The Court will determine whether to approve
                                                  the Settlement at a Fairness Hearing on
                                                  November 12, 2010 at 2:00 p.m.
            Legal Notice
BS Document 7305-2 Filed 1

     If you made a
  Percentage Co-Payment
      or Full Payment
      for Certain
    Chemotherapy
        Drugs
  From January 1, 1991 to
    December 31, 2004
   You may be able to get
  at least $35 back from a
  class action settlement.


   The Bristol-Myers Squibb
          drugs are:
        • Blenoxane®
        • Cytoxan®
        • Etopophos®
        • Paraplatin®
        • Rubex®
        • Taxol®
        • Vepesid®



    For information on how to
  exclude yourself (in writing by
  October 29, 2010), or to stay
   in the class and file a claim
    and/or object/comment:

          Visit:
 www.BMSAWPSettlement.com

          Call Toll-Free:
     1-877-690-7097
            Or Write:
  BMS AWP Class 3 Settlement
    Administrator, P.O. 2366,
   Faribault, MN 55021-9066
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                       EXHIBIT 2
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PRESS RELEASE               **            PRESS RELEASE               **         PRESS RELEASE


For Immediate Release                                                         Contact: Nancy Dolan
Date: August 13, 2010                                                               (202) 686-4111


   A Proposed Class Action Settlement Provides $19 Million to Third-Party Payors and
             Consumers for Overpayment of Certain Chemotherapy Drugs


(Washington, DC) – The following announcement is being issued by the law firm of Hagens
Berman Sobol Shapiro LLP regarding the preliminarily approval of a Settlement in the case In
re: Pharmaceutical Industry Average Wholesale Price Litigation, BMS Settlement, No. 01-CV-
12257, in the United States District Court for the District of Massachusetts.

The proposed Settlement with Bristol-Myers Squibb (“BMS”) will provide $19 million to settle
claims with Third-Party Payors (“TPPs”) and consumers that may have overpaid for drugs used in
the treatment of cancers and other medical conditions. These drugs are most often, but not always,
injected in a doctor’s office or clinic. The lawsuit is not about whether these drugs are safe or
effective.

The lawsuit claims that BMS reported false and inflated Average Wholesale Prices (“AWPs”) for
the following drugs: Blenoxane®, Cytoxan®, Etopophos®, Paraplatin®, Rubex®, Taxol®, and
Vepesid®. These drugs are most often, but not always, injected in a doctor’s office or clinic.
AWPs are used to set reimbursement amounts paid by a) Medicare and its beneficiaries, b) private
health insurers, and c) consumers making percentage co-payments under private health insurance
plans. As a result of incorrect AWPs, TPPs and consumers paid too much for these drugs. BMS
contends that it reported true and accurate prices; it denies any wrongdoing and is settling to avoid
the burden and expense of continued litigation.

You are a Class Member and included in the Settlement if:
   1. You are a TPP and reimbursed (or incurred an obligation to reimburse) any portion of an
      insured’s Medicare Part B co-payment for any of these drugs from January 1, 1991 through
      December 31, 2004; or
   2. You are a TPP and made (or incurred an obligation to make) reimbursements outside of
      Medicare Part B for any of these drugs from January 1, 1991 through March 1, 2008.
   3. You are a consumer who made a percentage co-payment through a private health insurance
      plan or made a full cash payment for any of these drugs from January 1, 1991 through
      December 31, 2004.

Class Members that remain in the Class must submit a valid claim postmarked by November 19,
2010 in order to receive any money.

Class Members that want to object or comment on the Settlement but remain part of the Class must
submit a written objection/comment postmarked by October 29, 2010. If the Settlement is
approved and the objection is rejected, they will be bound by all Court orders.
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Class Members that do not wish to be included in the Settlement must submit a written request for
exclusion postmarked by October 29, 2010. They keep the right to sue at their own expense.
They will not receive a payment from the Settlement.

The Court will determine whether to approve the Settlement at a Fairness Hearing on November
19, 2010 at 2:00 p.m.

For more information regarding the Settlement and Class Member rights, please visit
www.BMSAWPSettlement.com or call toll-free: 1-877-690-7097.

                                              ###

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             CERTIFICATE OF SERVICE BY LEXISNEXIS FILE & SERVE
                             Docket No. MDL 1456

       I, Steve W. Berman, hereby certify that I am one of plaintiffs’ attorneys and that, on
November 12, 2010, I caused copies of DECLARATION OF KATHERINE KINSELLA to
be served on all counsel of record by causing same to be posted electronically via Lexis-Nexis
File & Serve.


                                             /s/ Steve W. Berman
                                            Steve W. Berman
